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IN THE UNlTED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

 

LAREDo DlvisloN
GREGORY sPRiNGER, §
Plaimiff, §
§
v. §
§ CIVIL No. 5:15-cv~00103
FNU RoDRIGUEZ, JoHN GREGORY, §
DoEs 1-20,UN1TED sTATEs cf §
AMERICA, §
Defendants. §
PLAINTlFF’s MoTIoN FoR ATToRNEY’s FEES
To THE HoNoRABLE CoURT;

Plaintiff Grcgory Springer (“Springer”) files this Motion for Attorney’s Fees, and Would

respectfully show the Court the following
I. INTROI)UCTION

l. On Novernber 2, 201?, Springer filed his Motion to Exclude Expert Testimony.
(Dkt No. 48). fn the Court’s May 15, 2018 Order, the Court denied Springer’s Motion to Exclude
Expcrt Testimony, but also found that Defendants Ortelio Rodriguez, John Gregory, and United
States of America’s (collectively, ‘°Defendants”) expert disclosures Were deficient (ECF No. 61
at pp. 3, 6-7). The Court advised that, if Springel‘ believes he is entitled to expenses pursuant to
Federal Rule of Civil Procedure 37(c)(l)(A), he should tile a motion (Id. at fn. 3).

2. Consistent With the Court’s Oi‘der, and pursuant to Rule 37(0)(£)(A), Springer
submits this Motion for Attomey’s Fees, supported by the Declaration of Santos Vargas (“M

Decl.”), attached hereto as Exhibit A.

 

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II. RELEVANT BACKGRouND

3. Springer originally filed this action against the Defendants in connection With an
unjustified vehicular stop that subsequently led to Spi'inger’s tasing, arrest, and detainrnent.
Springer sues the individual Border Patrol agents pursuant to Bz'vensf and sues The United States
Governrnent according to the Federal 'l`ort Clairns Act.

4. A central issue is Whether the Border Patroi agents vioiated Springer’s
constitutional rights When he Was stopped, assaulted, arrested, and detained at the Customs and
Border Protection switchboard in Laredo, TeXas.

5. On October 28, 2016, Defendants filed their Designation of Expert Witnesses
(Defendants’ “Designation”) (cht. No. 48, Ex. A-l). ln their Designation, Defendants
represented that they “have not retained [any] experts for the purposes of providing testimony or
for consultation in this case.” (Id.) Defendants did, however, designate the following “non-

retained experts” (the “Experts”):

 

 

l. Stephen Hays

Supervisory Border Patrol Agent

Use Of Force Center of Exce§lence

Harpers Ferry, WV

Subje-ct: Stephen Hays is a Fireanns Prograrn Speeialist at the Border Patrol
Use of Forcc Ccnter of Excellence. Agent Hays has knowledge of
Border Patrol training and standards of conduct regarding the use
of force by agents. Agent Hays may provide testimony on the use
of force during the Oetober 2, 2013 encounter between Border
Patrol Agents and Plaintiff Grcgory Springer, including opinions
regarding the use of electronic contro¥ weapons (also known as
electronic control deviccs), when such use is authorized and
reasonable, and opinions related to the actions of Border Patrol
agents during the encounter with Plaintii`f` Gregory Springer.

 

l Bivens v. Six Unknown Named Agen!s of F ederal Bw'eazr of Narcotics, 403 U.S. 338 (197l).

 

 

 

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2. Brian D. Yarges

Training Opcrations Supervisor

U.S. Border Patrol Academy

Artesia, NM

Subje=ct: Brian D. Yarges is a Training Operations Supervisor at the Border
Patrol Academy. Supervisor Yarges has knowledge of Border
Patrol training and policies regarding the stopping, search, and
seizure of vehicles by agents, as well as the arrest and detention of
individuals by agents. Supervisor Yarges may provide opinions
related to the exercise of law enforcement authority by Border
Patrol agents, including opinions related to vehicle stops, search
and scizure, arrests, and detention by Border Patroi agents.
Supervisor Yarges may also provide opinions regarding the
evaluation of actions taken by Border Patro¥ agents during the
October 2, 2013 encounter with Piaintii`f` Gregory Springer.

 

(Id.).

6. The Experts have no personal involvement in the facts of this case, as Defendants
did not identify the Experts in their disclosure responses as persons with relevant knowledge
pursuant to FED. R. CIV. P. 26(a)(l)(A)(i). (Id. at EX. A-Z). At the very least, the Experts were
“specially employed” by Defendants to give expert testimony pursuant to FED. R. CiV. P.
26(a)(2)(B).

7. Because the Experts have no personal involvement in the facts giving rise to this
litigation, the Experts cannot be designated as “non-retained.” Defendants were thus required to
provide an expert report and produce all materials discussed in FED. R. CIV. P. 26(a)(2)(B), which
the Court found they did not do (Dkt. No. 61). Accordingly, due to Defendants’ failure to comply
with Rule 26(a)(2)(B), Springer requests that the Court award his reasonable expenses, including
attorney’s fees, pursuant to Rule 37(0)(1)(A) that were incurred in compelling Defendants’
compliance with the rules.

III. ARGUMENTS & AUTHoRITIEs

A. Fed. R. Civ. P. 37(¢)(1)(A)

 

 

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3. Under Federal Rule of Civil Procedure 37(c)(l)(A), when a party fails to provide
information or identify a witness as required by Rule 26(a), the Court may award the movant his
reasonable expenses, including attorney’s fees, caused by the failure. FED. R. Clv. P. 37(0)(1)(A).

9. In its Order dated l\/lay 15 , 2018, the Court found that “Defendants have failed to
disclose written expert reports as required by Rule 26(a)(2)(}3)”, but that “lesser remedies than
exclusion of the testimony are available.” (Dkt. No. 61). The Court further advised that if
c‘Springer believes he is entitled to expenses pursuant to F ederal Rule of Civil Proccdure
37(0)(l)(A)”, “he should file a motion no later than May 29, 2018.°’ (Id. at fn. 3).

10. Springer is entitled to his reasonable expenses under Rule 37(0)(1)(A) that were
incurred by Springer due to Defendants’ failure to comply with Rule 26(a)(2)(B). Such
reasonable expenses were incurred in drafting and filing Springer’s Motion to Exclude Expert
Testirnony and Motion for Attorncy’ s Fees, in addition to reviewing Defendants’ Designation and
disclosure responses and conferring with opposing counsel regarding Defendants’ failure to
comply with Rule 26(a)(2)(B). Accordingly, Springer seeks his reasonable expenses incurred
relating to his Motion to Exclude Expert Testimony and Motion for Attomey’s Fees.

B. Springer’s Reasonable Expenses

A. The lodestar is used to calculate the amount

l l. The amount of reasonable fees is generally calculated using the “lodestar” method,
without any adjustment or deviation to the calculated lodestar being required Tolletf v. Cr'ly of
Kemah, 285 F.3d 357, 367 (5th Cir. 2002). The lodestar is “the product of the hours worked
multiplied by the billing rate.” Mid-Continent Cas. Co. v. Chevron Pipe Lz'ne Co., 205 F.Bd 222,

232 (Sth Cir. 2000)', see also Hensley v. Eckerhar't, 461 U.S. 424, 433 (1983).

 

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l2. 'l`he first step in calculating the lodestar is to determine the number of hours
worked Mz'd-Conlr`nem Cas. Co., 205 F.3d at 232. To assist the Court in this effort, Springer
submits Exhibit A-l, a summary chart that shows the total number of hours worked by each
attorney and paralegal relating to the drafting and filing of Springer’s Motion to Exclude Expert
Testimony and Motion for Attorney’s Fees. See Vargas Decl., Ex. A-l. The hours are broken
down by the attorney or paralegal who performed the work. As shown on Exhibit A-l, the total
number of hours worked by Springer’s attorneys and a paralegal in connection with the
aforementioned motions is 20.2 hours. See Vargas Decl., 1[9, Ex. A-l.

13. The second step in the lodestar is determining the billing rate. “l-lourly rates are
to be computed according to the prevailing market rates in the relevant legal market, not the rate
that lions at the bar may command.” Hopwood v. State of Texas, 236 F.3d 256, 281 (Sth Cir.
2000) (quotations and citation omitted). l-lowever, “the attomeys’ fees calculus is a fact~intensive
one and its character varies from case to case.” Id. at 281.

l4. Exhibit A~l breaks down the hourly rate for each attorney and a paralegal, the
activity performed, and the duration of the activity. As Exhibit A~l demonstrates, the rates

charged by the firm for each of its attorneys and a paralegal are as follows:

 

 

 

 

 

 

 

 

 

 

 

 

Attorney Hours Hourly Rate Total
Jason Davis .50 $200.00 3100.00
Guillermo Benavides ll.lO $l00.00 $l,110.00
Santos Vargas 4.0 $200.00 $800.00
Devin Gabriel 3.8 $l00.00 $380.00
Kirsten Tyler 0.80 $65 .00 $52.00
TOTAL $2,442.00

 

See Vargas Decl., Ex. A-l.
15. These rates are more than reasonable in light of the circumstances for this case.

See Vargas Decl. jl‘l['?~l l; see also Johnson v. Gcorgfa Hwy. Express, Inc. , 488 F.Zd 7l4, 7l 7 (5tl1

 

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Cir. 1974); Kerr v. Screen Extras Guilci, ]nc., 526 F.2d 67, 70 (9th Cir. 1975). ln fact, the rates
charged by Springer’s counsel represent a 50% discount from their standard rates given the
important civil rights issues at stake in this lawsuit The rates charged by counsel for Springer
are plainly reasonable and comparable to rates charged by attorneys practicing in the Southern
District of Texas for similar matters See Vargas Decl. llW-l l; see also Soro v. LCS Corrections
Servs., Inc., No. 2:l2-l30, 2013 WL 40l2627, at *3 (S.D. Tex. Aug. 5, 2013) (f`rnding $250 per
hour to be a reasonable hourly rate); Compass Bank v. Mario Garcia, No. L-l l-lQl, EFC No. 9
(S.D. Tex Sept. 24, 20l2) (flnding $250 per hour to be a reasonable hourly rate); Thompson v.
Connick, 553 F.3d 836, 867 (5th Cir. 2008) (upholding district court’s determination of the hourly
rate that was based “on the fees generally awarded in the Eastern District of Louisiana”), rev ’a’
on other grounds by Co)'mick v. Thompson, l3l S.Ct. 1350 (201l); fn re Esrate of Vrana, 335
S.W.3d 322, 329-30 (Tex. App.-San Antonio 20l0, pet. denied) (upholding an award of
attorney’s fees from Jim Wells County Court in which the rates were set by the firm of Bracewell
& Giuliani LLP, in Houston, even though the rates were “somewhat higher than the standard rate
charged by attorneys working in the specific locality of lim Wells County”).

16. ln the final step of the lodestar calculation, the Court multiplies the reasonable
hourly rate by the number of hours reasonably expended Mid-Conrinenr Cas. Co., 205 F.3d at
232. Exhibit A-l demonstrates the lodestar calculation is $2,442.00. See
Vargas Decl., Ex. A-l.

B. Conclusion.

l7. Thus, pursuant to F ederal Rule of Civil Procedure 37(0)(l)(A), Springer seeks to

recover from Defendants his reasonable attorney’s fees and costs associated with filing his Motion

to Exclude Expert Testimony and Motion for Attomey’s Fees, in the total amount of 82,442.00.

 

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IV.

PRAYER

WHEREFORE, for the foregoing reasons, Plaintiff Gregory Springer respectfully requests

that the Court grant his Motion for Attorney’s Fees against Defendants pursuant to Rule

37(C)(1)(A), and award Plaintiff his reasonable expenses as set forth herein. Plaintiff further

requests all other relief to which he may be justly entitled

Dated: l\/lay 29, 2018.

By:

Respectfully Submitted,

DAvrs & SANTos, P.C.

/s/ Santos Var as
Mr. Jason l\/l. Davis

Attomey in Charge

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Attomeys for Plaintl_'[f
Gregm'y Sprilfge"

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CERTIFICATE OF SERVICE

l hereby certify that on l\/lay 29, 2018 a true and correct copy of this document was sent

to the following counsel of record identified below:

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